                 Case 2:20-cr-00146-JCC Document 76 Filed 09/28/21 Page 1 of 3




                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                 CASE NO. CR20-0146-JCC
10                              Plaintiff,                     ORDER
11          v.

12   JESUS DANIEL LERMA-JARAS and
     LIONEL GONZALEZ-TORRES,
13
                                Defendants.
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            This matter comes before the Court on Defendant Jesus Daniel Lerma-Jaras’s Motion to
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     Continue Trial and Pretrial Motion Deadlines. (Dkt. No. 74.) Defendant represents that the
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     Government does not oppose the requested continuance. (Id. at 2.) Defendant Lionel Gonzalez
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     Torres did not respond to the motion. Having considered Defendant’s motion and the relevant
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     record, the Court finds oral argument unnecessary and hereby GRANTS the motion for the
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     reasons explained below.
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            Trial in this case is currently set for November 8, 2021, with pretrial motions due October
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     4, 2021. (Dkt. No. 67.) Defendant’s counsel seeks a continuance as a result of his busy trial
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     schedule, which includes a murder trial that would overlap with a key pretrial period and
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     therefore deny defense counsel the time needed to review discovery, investigate, prepare pretrial
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     motions, and prepare for trial in this case. (See Dkt. No. 74 at 2.)
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     ORDER
     CR20-0146-JCC
     PAGE - 1
                 Case 2:20-cr-00146-JCC Document 76 Filed 09/28/21 Page 2 of 3




 1          This case is related to two others, United States v. Rodriguez-Moreno, CR20-0136-JCC

 2   and United States v. Villasenor, CR20-0137-JCC, which collectively involve more than 20

 3   defendants and, allegedly, multiple conspiracies to distribute controlled substances. See

 4   Rodriguez-Moreno, CR20-0136-JCC, Dkt. No. 107 at 2 (W.D. Wash. 2020). The Government’s

 5   investigation involved hundreds of hours of surveillance, wiretaps of multiple cell phones, more

 6   than a dozen controlled buys, at least ten multi-kilo seizures of controlled substances, and

 7   searches of several vehicles, residences, and businesses. (Id.) The Government has already

 8   produced over 10,000 pages of discovery, much of which is in Spanish, which requires defense
 9   counsel to work with interpreters. (Id. at 3.)
10          Trial in these two cases has already been continued to May 31, 2022, and December 6,
11   2021, respectively. Rodriguez-Moreno, CR20-0136-JCC, Dkt. No. 149 (W.D. Wash. 2021);
12   Villasenor, CR20-0137-JCC, Dkt. Nos. 211, 215 (W.D. Wash. 2021).
13          Having thoroughly considered the briefing and the relevant record, the Court FINDS that
14   the ends of justice served by granting a continuance outweigh the best interests of Defendants
15   and the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:
16          1.       In light of the number of defendants involved, the Government’s allegation of
17   multiple conspiracies, the volume of evidence, and the need for translation, this case is so
18   complex that it is unreasonable to expect adequate preparation for pretrial motions and trial

19   within the current deadlines. See 18 U.S.C. § 3161(h)(7)(B)(ii).

20          2.       Failure to grant a continuance would deny counsel for Mr. Lerma-Jaras the

21   reasonable time necessary for effective preparation, taking into account the exercise of due

22   diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

23          The Court also holds that the duration of this continuance should be excluded from Mr.

24   Gonzalez-Torres’s Speedy Trial calculation because it is “a reasonable period of delay” within

25   the meaning of 18 U.S.C. § 3161(h)(6). See also United States v. Messer, 197 F.3d 330, 336–37

26   (9th Cir. 1999).


     ORDER
     CR20-0146-JCC
     PAGE - 2
                 Case 2:20-cr-00146-JCC Document 76 Filed 09/28/21 Page 3 of 3




 1          Accordingly, the Court ORDERS:

 2          1.       Defendant’s motion (Dkt. No. 74) is GRANTED.

 3          2.       The November 8, 2021 jury trial is CONTINUED to May 31, 2022.

 4          3.       The pretrial motions deadline is CONTINUED until April 7, 2022.

 5          4.       The period from the date of this order until May 31, 2022 is an excludable period

 6   under 18 U.S.C. § 3161(h)(7)(A) and, with respect to Mr. Gonzalez-Torres, under 18 U.S.C.

 7   § 3161(h)(6).

 8
 9          DATED this 28th day of September 2021.




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                                                          John C. Coughenour
13                                                        UNITED STATES DISTRICT JUDGE
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     ORDER
     CR20-0146-JCC
     PAGE - 3
